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 6 Attorneys for Plaintiff
   United States of America
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 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                          2:18-CR-00024-GEB
12                                Plaintiff,            STIPULATION AND [PROPOSED] ORDER TO
                                                        CONTINUE STATUS CONFERENCE
13                          v.
                                                        Date: March 30, 2018
14   DONTE ROBINS,                                      Time: 10:00 a.m.
     ISAIAH BURKS,                                      Judge: Hon. Garland E. Burrell, Jr.
15   RAYSHAWN WRAY, and
     JOSHUA MARKANSON,
16
                                 Defendants.
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19          Plaintiff United States of America, through its undersigned counsel, and Defendants Donte Robins

20 and Joshua Markanson, through their respective counsel, stipulate that the status conference currently set
21 for March 30, 2018, be continued to June 1, 2018, at 9:00 a.m.

22          On March 5, 2018, Mr. Robins was arraigned on the nine-count Superseding Indictment. (ECF

23 Nos. 15, 21.) Mr. Markanson was arraigned on the Superseding Indictment two days later, on March 7,
        1
24 2018. (ECF No. 22.) Recently, the government produced to Mr. Robins’ defense counsel all discovery

25 relevant to this case. This includes 139 pages of written materials and roughly 130 photos, as well as

26 fifteen compact disks containing dozens of audio and video files. The government expects to deliver
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            1
28            Co-defendants Isaiah Burks and Rayshawn Wray have not been located at this time, and have
     not appeared for any court proceedings.
       STIPULATION AND [PROPOSED] ORDER TO CONTINUE  1
30    STATUS CONFERENCE
               Case 2:18-cr-00024-TLN Document 27 Filed 03/30/18 Page 2 of 3


 1 these materials to Markanson’s defense counsel in the coming week. Both sets of counsel will require

 2 time to review these materials, to confer with their clients, to conduct further research and investigation

 3 about the charged offenses, and to otherwise prepare for trial.

 4          Based on the foregoing, the parties stipulate that the status conference currently set for March 30,

 5 2018, be continued to June 1, 2018, at 9:00 a.m. The parties further agree that time under the Speedy

 6 Trial Act should be excluded from the date this order issues to and including June 1, 2018, under 18

 7 U.S.C. § 3161(h)(7)(A) and (B)(iv) [reasonable time to prepare] and General Order 479, Local Code T4,

 8 based on continuity of counsel and defense preparation.

 9          Counsel and the defendants also agree that the ends of justice served by the Court granting the

10 requested continuance outweigh the best interests of the public and the defendants in a speedy trial.

11                                                        Respectfully submitted,

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13 Dated: March 28, 2018                                  _/s/ Timothy H. Delgado___________
                                                          TIMOTHY H. DELGADO
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                                                          Assistant United States Attorney
15                                                        Attorneys for Plaintiff United States

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     Dated: March 28, 2018                                _/s/ THD for Linda C. Allison_______
17                                                        LINDA C. ALLISON
                                                          Assistant Federal Defender
18                                                        Attorney for Defendant Donte Robins
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20 Dated: March 28, 2018                                  _/s/ THD for Etan Zaitsu___________
                                                          ETAN ZAITSU
21                                                        Attorney for Defendant Joshua Markanson
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      STIPULATION AND [PROPOSED] ORDER TO CONTINUE       2
30    STATUS CONFERENCE
               Case 2:18-cr-00024-TLN Document 27 Filed 03/30/18 Page 3 of 3


 1                                                     ORDER

 2          The Court, having received and considered the parties’ stipulation, and good cause appearing

 3 therefore, adopts the parties’ stipulation in its entirety as its order. The Court specifically finds that the

 4 failure to grant a continuance in this case would deny counsel reasonable time necessary for effective

 5 preparation, taking into account the exercise of due diligence. The Court finds that the ends of justice

 6 are served by granting the requested continuance and outweigh the best interests of the public and the

 7 Defendants in a speedy trial.

 8          The Court orders that the time from the date the parties stipulated, to and including June 1, 2018,

 9 shall be excluded from computation of time within which the trial in this case must be commenced
10 under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) [reasonable time for

11 counsel to prepare] and General Order 479 (Local Code T4). It is further ordered that the March 30,

12 2018 status conference shall be continued until June 1, 2018, at 9:00 a.m.

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            Dated: March 29, 2018
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      STIPULATION AND [PROPOSED] ORDER TO CONTINUE         3
30    STATUS CONFERENCE
